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                 Exhibit 3
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14
                        UNITED STATES DISTRICT COURT
15          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16                                                  CASE NO. 4:20-cv-3919-CW
17 IN RE COLLEGE ATHLETE NIL
   LITIGATION                                       DECLARATION OF YOELI CHILDS IN SUPPORT
18
                                                    OF MOTION FOR ADMINISTRATIVE RELIEF TO
19                                                  BE ADDED TO THE OPT-OUT LIST
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                                                                    NO. 4:20-cv-3919-CW
                                    DECLARATION OF YOELI CHILDS
     Case 4:20-cv-03919-CW           Document 795-3           Filed 04/14/25       Page 3 of 4




 1          I, Yoeli Childs, hereby declare as follows:

 2          1.      I am a former basketball player at Brigham Young University. I submit this declaration

 3 in support of my request to be added to the opt-out list for the proposed settlement in this case.

 4          2.      I am personally familiar with the facts set forth in this Declaration. If called as a

 5 witness, I could and would competently testify to the matters stated herein.

 6          3.      I played basketball at Brigham Young during the 2016 through 2020 seasons. Among

 7 other honors, in 2018-19, I lead the West Coast Conference (“WCC”) in scoring and was named All-

 8 WCC First Team in 2018-19 and 2019-20.

 9          4.      I reside out of the country and did ot receive the settlement notice.

10          5.      After learning of the proposed settlement, I contacted the settlement Administrator to

11 inquire if I would be considered a Power Five player. The Settlement Administrator told me that I

12 would not be treated as a Power Five player and that if I wanted to be included in the settlement I

13 would need to to submit a claim by January 31, 2025.

14          6.      After being informed that I would need to submit a claim to be included in the

15 settlement, I understood that I was not in the settlement class unless I submitted a claim by January

16 31, 2025. I did not want to be a member of the class and understood that I would be excluded unless

17 I submitted a claim. For that reason, I did not submit a claim by January 31, 2025, and instead

18 believed I would not be in the settlement class.

19          7.      Immediately upon learning that there was a requirement to affirmatively opt out of the

20 settlement, I executed and mailed a completed opt out to the Administrator on March 11, 2025.

21          8.      It was impossible for me to opt out by the deadline because I did not know about the

22 deadline. My calls to the Claims Administrator left me with the understanding that I was not in the

23 class settlement unless and until I submitted a claim.

24          9.      I ask that the Court honor my request and add me to the opt-out list for the case.

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                                                          1                  NO. 4:20-cv-3919-CW
                                      DECLARATION OF YOELI CHILDS
     Case 4:20-cv-03919-CW             Document 795-3         Filed 04/14/25       Page 4 of 4




 1

 2            I declare under penalty of perjury that the foregoing is true and correct.

 3 Executed on April 14, 2025,

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                                                      Yoeli Childs
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                                        DECLARATION OF YOELI CHILDS
